         Case 1:21-cr-00222-TFH Document 97-4 Filed 01/23/23 Page 1 of 2




Nicholle Sicknick – Impact Statement
Nearly twenty-three years ago while putting myself through college, having lived for years in
rented rooms, I went on a date with the most thoughtful, gentle man I knew. His name was
Craig, we’d been friends for a year, and I was terrified. I was terrified because I loved him
dearly, but also valued his friendship, and didn’t want to risk losing it. I was terrified because he
talked about his family, and without knowing them I knew they were good people, and where I
come from, good people kept their distance from penniless nomads who lived in rented rooms
and worked two jobs to afford both groceries and tuition. But I went on that date, anyway, being
scared, because I knew Craig was a good person who knew where I came from and wanted to
take me out anyway. A few weeks later I met his family, and I’m not sure they knew how to take
me. Not many people did back then. I was suspicious, scrappy, and sarcastic, and didn’t know
how to act in a family, so I winged it. And they gave me a chance. They gave me a chance
when many others didn’t. They listened even when I was difficult to understand. They didn’t
always know if they were saying the right things; neither did I. But they opened their hearts and
gave me a place. They welcomed me as family, and though I'd never felt settled in my life,
eventually, here, I was. In time I found myself as much a member of the family as any of them -
Craig, Gladys, Chuck, Ken, or Brian. After years of existing rootless and surrounded by callous
indifference, I was for once surrounded by people who loved, valued, and protected one
another. It was a tough adjustment, but I made it, and it made a difference in my life.

Then late morning on January 7, 2021, after I'd watched hours of mayhem on the news, my
phone rang. It was Craig, and his voice was choked. His brother, my brother-in-law, Brian, had
collapsed in his office. It made no sense, because Brian had texted the night before, shaken
but in good spirits, having said nothing about being injured or feeling ill. My stomach
turned. Brian had always been healthy. Why would he collapse? But Craig didn’t know
either. I waited hours for another call, and then it came. Brian had had two strokes, he was
unresponsive, and his prognosis was grim. I asked my husband in disbelief if this meant Brian
would die, and he frantically answered yes. After I heard myself scream, “Why?” the voices on
T.V. slurred into the background and a fist clutched my throat. I sobbed on the floor for not sure
how long. How could Brian die? He sounded fine yesterday. How could Brian die? He was
only 42. How could Brian die? He was my friend. How could Brian die? He was an amazing
person. How could Brian die? We all loved him. How could Brian die? He was only doing the
right thing. My mind raced on but no answers came.

What followed was a blur. Reporters pounding the doors. Silencing my phone to stop all the
ringing. Photographs of Brian flashing repeatedly on the TV until I turned that off, too. Crying.
Then hearing my family crying. All of them. Crying in the bathroom till l threw up. Listening to
my family crying some more. Listening to them scream at one another in confusion and
rage. Blue and red lights, miles and miles of them, for hours. Sirens. More crying. Until I was
physically ill from electrolyte loss. The sounds of everyone’s voices turned unbearable
because all I could hear in those voices was fear and loss. Then the sound of nobody knowing
what to say for a long time. The silence was as maddening as the noise. Filling it with more
crying. Till I was sick again. And asking why. But never getting an answer. Just angry voices
and sad faces all around me. From people I’d never seen angry and sad in twenty
years. Where I came from anger and sadness were all over, wherever you turned, but not in
this family. What happened? There was once joy. There was once comfort. There was once
laughter. There was once a sense of shelter. So many memories and moments were once
cherished.
        Case 1:21-cr-00222-TFH Document 97-4 Filed 01/23/23 Page 2 of 2



 I was lucky to find a family who helped my heart to become better. And you, Mr. Khater,
snuffed all that out with a spray can of chemicals. Just because you could. You took it away
from us with your malice and hatred. Just because you could. Now, because of you, the
comfort, the joy, the laughter, the safety, the memories, became drowned in rage and sadness
and terror and tears. How could this happen?

Because of Hate. Your hate did this. The same hate that rallied thousands to take up arms
against the nation that allowed their rights and freedoms, and attack that same nation and those
who defended those very rights and freedoms. All because some malignant, self-important
egomaniac told them to do so. Many times this has happened in history, the world over. Any
American with basic knowledge of history knows - or should know - where this leads. And yet,
American citizens like you, took it upon yourselves to brutally attack, maim, and kill, fellow
Americans, because you fancied one man - one woefully misguided man - wished you to do
it? When did it become okay to commit violent crime - or any crime - just because someone
else wished it? Never. The S.S. officers on trial at Nuremberg learned this the hard way, and if
there's any justice in the world, so will you.

What did my brother-in-law Brian - someone you’d never even met - ever do to justify your
vicious abuse of him? He was here doing his job, protecting the people he’d sworn to protect,
and for doing this, you felt he deserved to be attacked and sprayed with npoison? You didn’t
even belong in the Capitol. You were there for the sole purpose of destruction, and Brian died
protecting the innocent from people like you. You destroyed Brian Sicknick, my brother-in-law
and friend, because it suited your whims. You destroyed the hearts of every member of Brian's
family, just because it suited your whims. An innocent man, a loving brother, and a good friend,
and the hearts of the people who loved him, have been destroyed by you, just because it suited
your whims. My, my, I hope that makes you proud of yourself.
